                               UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF NEW YORK
                                        1220 U.S. Courthouse
                                           100 State Street
                                     Rochester, New York 14614

__________________________________________________________________________________________
In Re:

       MONICA WILLIAMS,                                    Case No. 15-21214
                                                           Chapter 7

                        Debtor.
__________________________________________________________________________________________

               TRUSTEE’S INTENT TO SELL COMBINED WITH NOTICE THEREOF
                                   **PRIVATE SALE**

The Trustee, Kenneth W. Gordon, 1039 Monroe Avenue, Rochester, NY 14620 intends to conduct a private
sale of non-exempt items of the Bankruptcy Estate, pursuant to Federal Rule of Bankruptcy Procedure 6004(a),
as follows:

Description of Property or Interest to be sold: Non-Exempt Personalty: (3) DVD Players (Scheduled Value
$60.00); Nintendo Wii (Scheduled Value $50.00; microwave oven (Scheduled Value $10.00); Samsung Note 3
(Scheduled Value $73.78) = $193.78

Buyer’s Name and Address: Debtor

Price (and payment terms, if any): $193.78

Trustee’s basis for purchase price: Approximately 100% of a the values listed above.

Other terms, conditions or information regarding the sale: None

PLEASE TAKE NOTICE, that unless an objection or a request for a hearing is filed with the Bankruptcy
Court Clerk, the Trustee, and the U.S. Trustee regarding the above sale by ______________, the intended sale
will immediately go forward and the Trustee will sell the above interest or property by virtue of the Trustee’s
statutory powers, without further Notice or Order of the Court. A hearing will take place before Honorable Paul
R. Warren, at 100 State Street, 1550 U.S. Courthouse, Rochester, New York, on ___________________ at
________ if a timely objection is filed.


Dated: ______________                                      _________________________
                                                           Lisa Bertino Beaser, Esq.
                                                           Clerk, U.S. Bankruptcy Court




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